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The following constitutes the ruling of the court and has the force and effect therein described.




Signed May 5, 2021
______________________________________________________________________



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION
                                                                       §
         In re:
                                                                       §   Chapter 11
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                       §   Case No. 19-34054-sgj11
                                                                       §
                                          Debtor.
                                                                       §
                                                                       §
         UBS SECURITIES LLC and UBS AG LONDON
                                                                       §
         BRANCH,
                                                                       §   Adversary Proceeding No.
                                                                       §
                                          Plaintiffs,                      21-03020-sgj
                                                                       §
                                                                       §
         vs.
                                                                       §
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                       §
                                          Defendant.




     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


     Order Approving Stipulation Extending Deadline for Debtor to Answer or Otherwise Respond to Complaint
     Page 1 of 2
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              ORDER APPROVING STIPULATION EXTENDING DEADLINE
         FOR DEBTOR TO ANSWER OR OTHERWISE RESPOND TO COMPLAINT

            Upon consideration of the Stipulation Extending Deadline for Debtor to Answer or

Otherwise Respond to Complaint [Docket No. 52] (the “Stipulation”) 2 by and between Highland

Capital Management, L.P. (the “Debtor”), the debtor and debtor-in-possession in the above-

captioned bankruptcy case and defendant in the above-captioned adversary proceeding (the

“Adversary Proceeding”), and UBS Securities LLC and UBS AG London Branch (together,

“UBS”, and collectively with the Debtor, the “Parties”), plaintiffs in the Adversary Proceeding,

it is HEREBY ORDERED THAT:

           1.       The Stipulation, a copy of which is attached hereto as Exhibit A, is APPROVED.

           2.       The Stipulation shall become effective immediately upon entry of this Order.

           3.       The Answer Deadline by which the Debtor must answer or otherwise respond to

the Complaint shall be extended through and including Wednesday, June 2, 2021.

           4.       The Court shall retain jurisdiction over all disputes arising out of or otherwise

concerning the interpretation and enforcement of the Stipulation and this Order.

                                               ### End of Order ###




2
    Capitalized terms not otherwise defined in this Order shall have the meanings ascribed to them in the Stipulation.
Order Approving Stipulation Extending Deadline for Debtor to Answer or Otherwise Respond to Complaint
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                               EXHIBIT A
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Counsel for the Debtor and Debtor-in-Possession


                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION
                                                                  §
    In re:
                                                                  §   Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                  §   Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.
                                                                  §
                                                                  §
    UBS SECURITIES LLC and UBS AG LONDON
                                                                  §
    BRANCH,
                                                                  §   Adversary Proceeding No.
                                                                  §
                                     Plaintiffs,                      21-03020-sgj
                                                                  §
                                                                  §
    vs.
                                                                  §
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §
                                     Defendant.




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


Stipulation Extending Deadline for Debtor to Answer or Otherwise Respond to Complaint
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                 STIPULATION EXTENDING DEADLINE
     FOR DEBTOR TO ANSWER OR OTHERWISE RESPOND TO COMPLAINT

        Highland Capital Management, L.P. (the “Debtor”), the debtor and debtor-in-possession

in the above-captioned bankruptcy case and defendant in the above-captioned adversary

proceeding (the “Adversary Proceeding”), and UBS Securities LLC and UBS AG London Branch

(together, “UBS”, and collectively with the Debtor, the “Parties”), plaintiffs in the Adversary

Proceeding, enter into this stipulation (the “Stipulation”) extending the deadline for the Debtor to

answer or otherwise respond to UBS’s Original Complaint for Injunctive Relief [Docket No. 3]

(as may be subsequently amended or supplemented, the “Complaint”) filed in the Adversary

Proceeding.

                                             Recitals

        WHEREAS, on March 31, 2021, UBS filed the Complaint under seal commencing the

Adversary Proceeding;

        WHEREAS, on April 1, 2021, UBS served the Complaint and summons on the Debtor;

        WHEREAS the original deadline for the Debtor to answer or otherwise respond to the

Complaint was May 3, 2021 (the “Answer Deadline”); and

        WHEREAS the Parties reached an agreement extending the Answer Deadline by which

the Debtor must answer or otherwise respond to the Complaint.

        NOW, THEREFORE, it is hereby stipulated and agreed, and upon approval of this

Stipulation by the Court, it shall be SO ORDERED:

        1.     The Answer Deadline by which the Debtor must answer or otherwise respond to

the Complaint shall be extended through and including Wednesday, June 2, 2021.




Stipulation Extending Deadline for Debtor to Answer or Otherwise Respond to Complaint
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Dated May 3, 2021.
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                                                 -and-

                                                 HAYWARD PLLC

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                                                 Counsel for the Debtor and Debtor-in-
                                                 Possession

                                                 -and-




Stipulation Extending Deadline for Debtor to Answer or Otherwise Respond to Complaint
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                                                 London Branch




Stipulation Extending Deadline for Debtor to Answer or Otherwise Respond to Complaint
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